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                       UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF INDIANA


     BRADLEY ERHART,                        ) Case No. 1:21-cv-01829-TAB-TWP

          Plaintiff                         )

          v.                                )

     NANCY ERHART,                          )

          Defendant.                        )




          ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT

           Comes Now Defendant/Trustee of the Mary E. Catron Revocable Living

     Trust (hereinafter “Trust”) Nancy Erhart, by her attorney, Phillip C. Smith,

     with her answer to Plaintiff’s First Amended Complaint states:

          1. Defendant admits allegations contained in rhetorical paragraphs 1

    through 13 of Plaintiff’s Complaint.

          2. Defendant is without sufficient information to admit or deny the

    allegation contained in rhetorical paragraph 14 of Plaintiff’s First Amended

    Complaint.

          3. Defendant admits the allegations contained in rhetorical paragraph

    15 and 16 of Plaintiff's First Amended Complaint.

          4. Defendant denies the allegation contained in rhetorical paragraph of
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    17 Plaintiff's First Amended Complaint as no accounting is required.

          5. Defendant denies the allegation contained in rhetorical paragraph of

    18(a), 18(b), 18(c), and 18(d) in Plaintiff's First Amended Complaint in that

    Plaintiff has not stated the full, complete, or appropriate conditions to the

    provisions to attain.

          6. Defendant denies the allegation contained in rhetorical paragraphs

    of 18(b), 18(c), and 18(d) of Plaintiff’s First Amended Complaint.

          7. Defendant denies the allegation contained in rhetorical paragraph of

    19 of Plaintiff’s First Amended Complaint. Plaintiff has known of the Trust

    since before the Grantor, Mary Catron, died in February, 2010.

          8. Defendant is without sufficient information to admit or deny the

    allegation contained in rhetorical paragraph 20 of Plaintiff’s First Amended

    Complaint.

          9. Defendant denies the allegation contained in rhetorical paragraph of

    21 of Plaintiff’s First Amended Complaint.

          10. Defendant denies the allegation contained in rhetorical paragraph of

    22 of Plaintiff’s First Amended Complaint.

          11. Defendant denies the allegation contained in rhetorical paragraph of

    23 of Plaintiff’s First Amended Complaint. There is no requirement that

    Nancy as Trustee pay Bradley any funds.

          12. Defendant denies the allegation contained in rhetorical paragraph of
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    24 of Plaintiff’s First Amended Complaint. Defendant admits that Nancy’s

    funds have ben put to Nancy’s personal use.

          13. Defendant denies the allegation contained in rhetorical paragraph of

    25 of Plaintiff’s First Amended Complaint. Plaintiff made no requests for

    additional information at the time he learned of the trust. Defendant admits

    that Plaintiff has subsequently requested information.

          14. Defendant denies the allegation contained in rhetorical paragraph of

    26 of Plaintiff’s First Amended Complaint as an accounting to Plaintiff is not

    required.

                                      COUNT I

          15. As to rhetorical paragraph 27, Defendant has answered with

    respect to the previous rhetorical paragraphs.

          16. Defendant admits that Indiana Code § 30-4-3-22 does contain the

    statements contained in rhetorical paragraph 28 of Plaintiff’s First Amended

    Complaint, but Defendant notes that Plaintiff provide a full statement of

    Indiana Code § 30-4-3-22.

          17. Defendant denies the allegations contained in rhetorical paragraph

    29 of Plaintiff’s First Amended Complaint.

          18. Defendant is without sufficient information to admit or deny

    allegations contained in rhetorical paragraph 30 of Plaintiff’s First Amended

    Complaint.
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          19. Defendant denies the allegations contained in rhetorical paragraph

    31 of Plaintiff’s First Amended Complaint.

          20. Defendant denies the allegations contained in rhetorical paragraph

    32 of Plaintiff’s First Amended Complaint as Defendant believes Plaintiff was

    aware of the provisions of the trust prior to Defendant becoming the Successor

    Trustee of the Trust.

          21. Defendant is without sufficient information to admit or deny

    allegations contained in rhetorical paragraph 33 of Plaintiff’s First Amended

    Complaint.

          22. Defendant denies the allegations contained in rhetorical paragraph

    34 of Plaintiff’s First Amended Complaint.

          23. Defendant admits that Plaintiff has stated Indiana Code §

    30-4-3-11(b) accurately in rhetorical paragraph 35 of Plaintiff’s First Amended

    Complaint. Defendant denies the inferred allegation contained in rhetorical

    paragraph 35 of Plaintiff’s First Amended Complaint that Defendant has

    breached her fiduciary duty.

          24. Defendant admits that Plaintiff has stated Indiana Code §

    30-4-3-11(b)(4) accurately in rhetorical paragraph 36 of Plaintiff’s First

    Amended Complaint. Defendant denies the inferred allegation contained in

    rhetorical paragraph 36 of Plaintiff’s First Amended Complaint that

    Defendant has breached her fiduciary duty.
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             25. 4 - 75).

                WHEREFORE, Defendant Nancy Erhart prays this Court deny

    Plaintiff’s Complaint in full; that the Court will hold that the Plaintiff will

    take nothing by way of his Complaint, and for all that is right in these

    premises.

                                       COUNT II

             26. As to rhetorical paragraph 37, Defendant has answered with

    respect to the previous rhetorical paragraphs.

             27. Defendant admits that Plaintiff has stated Indiana Code § 30-4-3-5

    accurately in rhetorical paragraph 38 of Plaintiff’s First Amended Complaint

    at least as far as Plaintiff went. Plaintiff did not present that § 30-4-3-5(a)(3)

    states: the exercise of the power is specifically authorized by the terms of the

    trust.

             28. Defendant denies the allegations contained in rhetorical paragraph

    39 of Plaintiff’s First Amended Complaint as Defendant believed that Plaintiff

    was aware of the Trust and te terms of the Trust.

             29. Defendant denies the allegations contained in rhetorical paragraph

    40 of Plaintiff’s First Amended Complaint.

             30. Defendant admits that she did not receive the court’s permission

    for her actions. Defendant denies the remainder of the allegations contained

    in rhetorical paragraph 41 of Plaintiff’s First Amended Complaint.
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          31. Defendant denies the allegations contained in rhetorical paragraph

    42 of Plaintiff’s First Amended Complaint.

          32. Defendant denies the allegations contained in rhetorical

    paragraph 43 of Plaintiff’s First Amended Complaint.

           WHEREFORE, Defendant Nancy Erhart prays this Court deny

    Plaintiff’s Complaint in full; that the Court will hold that the Plaintiff will

    take nothing by way of his Complaint, and for all that is right in these

    premises.

                                      COUNT III

          33. As to rhetorical paragraph 44, Defendant has answered with

    respect to the previous rhetorical paragraphs.

          34. Defendant admits the allegations contained in rhetorical

    paragraph 45 of Plaintiff’s First Amended Complaint.

          35. Defendant admits the allegations contained in rhetorical

    paragraph 46 of Plaintiff’s First Amended Complaint with respect to record

    keeping and Defendant denies the allegations contained in rhetorical

    paragraph 46 of Plaintiff’s First Amended Complaint with respect to violating

    Indiana Code § 30-4-3-6 by using trust assets as her own.

          36. Defendant denies the allegations contained in rhetorical paragraph

    47 of Plaintiff’s First Amended Complaint.

          37. Defendant denies the allegations contained in rhetorical paragraph
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    48 of Plaintiff’s First Amended Complaint.

            WHEREFORE, Defendant Nancy Erhart prays this Court deny

    Plaintiff’s Complaint in full; that the Court will hold that the Plaintiff will

    take nothing by way of his Complaint, and for all that is right in these

    premises.

                                       COUNT IV

          38. As to rhetorical paragraph 49, Defendant has answered with

    respect to the previous rhetorical paragraphs.

          39. Defendant admits that Plaintiff has stated Indiana Code §

    30-4-3-6(a)(7) accurately in rhetorical paragraph 50 of Plaintiff’s First

    Amended Complaint.

          40. Defendant denies the allegations contained in rhetorical

    paragraph 51 of Plaintiff’s First Amended Complaint.

          41. Defendant denies the allegations contained in rhetorical

    paragraph 52 of Plaintiff’s First Amended Complaint.

          42. Defendant is without sufficient information to admit or deny

    allegations contained in rhetorical paragraph 53 of Plaintiff’s First Amended

    Complaint.

           WHEREFORE, Defendant Nancy Erhart prays this Court deny

    Plaintiff’s Complaint in full; that the Court will hold that the Plaintiff will

    take nothing by way of his Complaint, and for all that is right in these
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    premises.

                                       COUNT V

          43. As to rhetorical paragraph 54, Defendant has answered with

    respect to the previous rhetorical paragraphs.

          44. Defendant admits that Plaintiff has stated Indiana Code §

    30-4-5-12(c) accurately in rhetorical paragraph 55 of Plaintiff’s First Amended

    Complaint.

          45. Defendant admits the allegations contained in rhetorical

    paragraph 56 of Plaintiff’s First Amended Complaint.

          46. Defendant admits the allegations contained in rhetorical

    paragraph 57 of Plaintiff’s First Amended Complaint.

                WHEREFORE, Defendant Nancy Erhart prays this Court deny

    Plaintiff’s Complaint in full; that the Court will hold that the Plaintiff will

    take nothing by way of his Complaint, and for all that is right in these

    premises.

                                      /S/Phillip C. Smith
                                      Phillip C. Smith (Atty. No. 21830-84)
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                              AFFIRMATIVE DEFENSES

     Comes Now Defendant Nancy Erhart, by her attorney, Phillip C. Smith, with
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     her affirmative defenses:

           1.    Lack of Jurisdiction of this Court.

           One of the requirements for this Court to have jurisdiction is that the

     amount in controversy must exceed $75,000. If Plaintiff’s interest in the Trust

     does not meet or exceed $75,000, then Plaintiff’s Complaint must fail because

     this Court does not have jurisdiction. Plaintiff claims to be a beneficiary under

     the Trust with his portion of the Trust’s value being in excess of $400,000.

     Under the Second Amendment to the Trust, dated December 30, 2003, Plaintiff

     is entitled to a gift of $25,000, which gift “shall lapse in the event Grantor

     makes the same or similar gift during her lifetime.” Regardless of whether or

     not this gift has lapsed there is no provision in this statement of gift for any

     increase due to positive trust income or investment income. Indiana Code (IC)

     30-2-14-2(2) defines “beneficiary” under the Trust Code. Plaintiff is not a

     beneficiary of the Trust as defined by IC 03-2-14-2(2) as he has no income nor

     residuary beneficial interest. The gift mentioned above aside, Plaintiff has at

     best a discretionary interest as defined in IC 30-4-2.1-14 and IC 30-4-2.1-14.5.

     Plaintiff has a one quarter interest in proceeds from the sale of a farm if the

     farm is sold. However, the Trustee has the sole discretionary right to

     determine if and/or when the farm is to be sold. Should the farm not be sold

     then the farm is part of the residue of the Trust and thus it would go to the

     residuary beneficiary (not the Plaintiff!). Moreover, IC 30-4-2.1-14(a)(1) states
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      that “a discretionary interest is a mere expectancy that is that is neither a

      property interest nor an enforceable right.” Plaintiff is entitled, at best, to the

      $25,000 gift (assuming it has not lapsed) and even if one claimed that the

      Successor Trustee (the Defendant) was required to invest the $25,000 for the

      benefit of Plaintiff, then in order for $25,000 reach the $75,000 amount in

      controversy threshold, the 11 year compound return would be forced to exceed

      10.5%. According to Roger G. Ibbotson’s and Rex A. Sinquefield’s study (The

      Journal of Business, Vol. 49, No. 1, pp 11-47, University of Chicago Press) the

      long-term compound return for investments in the stock market is 8.5%. Later

      studies by Ibbotson and Sinquefield revised their estimate of long-term gains to

      a compound 9.9%. However, other financial analysts and economists that have

      studied the markets have concluded that even a longterm compound return of

      8.5% is overly generous. To be specific, the point is that in order for an

      assumed $25,000 investment to grow to $75,000 in an 11 year period would

      require overly risky behavior on the part of the investor. For a trustee,

      especially a non-professional trustee of a trust to gain the required amount of

      investment income so to even meet the amount in controversy threshold would

      require the trustee to engage in longterm investing behavior that would be

      putting the funds at unnecessary risk and thus there would be a breach of

      fiduciary duty on the part of the trustee. IC 30-4-3-6(b)(1) requires the trustee

      to follow the “Prudent Investor Rule”. Lacking a breach of fiduciary duty (i.e.
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      violation of the Prudent Investor Rule) by seeking too much risk (which

      Plaintiff is not claiming) Plaintiff fails to meet the amount in controversy

      requirement for a case to be heard by this Court. Hence this Court has no

      jurisdiction on this matter and this cause of action should be dismissed.



      2. No Contest Clause As A Bar To The Complaint.

           In arguendo, if the Court chooses to accept Plaintiff’s assertion that the

      amount in controversy is in excess of $75,000 and that Plaintiff is a beneficiary

      of the Trust, then Article XIV of the Trust provides what is commonly called a

      ‘no contest provision’. Said no contest provision states:

            In the event that any beneficiary under this trust shall, singly or
            in conjunction with any other person or persons, contest in any
            court the validity of this trust or of the Grantor's Last Will or
            shall seek to obtain an adjudication in any proceeding in any
            court that this trust or any of its provisions, or that such Will or
            any of its provisions, is void, or seek otherwise to void, nullify, or
            set aside this trust or any of its provisions, then the right of that
            person to take any interest given to him by this trust shall be
            determined as it would have been determined had the person
            predeceased the execution of this Trust Agreement. The Trustee
            is authorized to defend, at the expense of the trust estate, any
            contest or other attack of any nature on this trust or any of its
            provisions.

            By attempting to void part of the Trust or any of its provisions by

            the terms of the Trust’s Article XIV (the no contest clause)

            Plaintiff should be treated as having predeceased the Trust.

            Therefore Plaintiff would not be entitled to any interest in the
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           Trust--not his $25,000 gift nor his “discretionary interest”

           assuming the farm was sold. IC 30-4-2.1-3(a) provides that no

           contest provisions are enforceable according to the express terms

           of the no contest provision. Thus, Plaintiff’s Complaint should fail;

           this cause of action should be dismissed, and Plaintiff should take

           nothing by way of his complaint. Counsel for the Defendant takes

           this opportunity to remind the Court that Line 50 of Plaintiff’s

           Complaint states that “Plaintiff was able to secure a full copy

           [emphasis added] of the Will and Trust from Sarah Erhart on May

           26.” The no contest provision of the Trust was quoted in full above.

           Furthermore, Plaintiff’s Complaint lines 63 and 64 state

           “Plaintiff makes it know that he does not believe that Nancy

           Erhart, as current Successor Trustee, is entitled to use any Trust

           property to defend this claim per the Trust.” Clearly the no

           contest provision authorizes Trustee Erhart to do just that!

           3.     Third Amendment To The Trust Bars The Complaint.

           The Trust was amended for a third time on January 19, 2004.

     This Third Amendment specifically puts any funds due to any of

     Grantor’s grandchildren (Plaintiff Bradley C. Erhart, Sarah E. Erhart,

     and Justin C. Erhart) solely in the hands of the Trustee. This

     amendment states:
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           Nancy is to be in charge of the grandchildren’s money till she
           thinks they can handle the responsibility.

      Under the Third Amendment to the Trust, Nancy, the

      Trustee/Defendant is in charge of what funds, if any, are Plaintiff’s

      until such time as she (the Trustee) determines that the Plaintiff can

      handle the funds responsibly. There is no compelling interest to reform

      the Trust, therefore Plaintiff has failed to state a claim upon which this

      Court may act. Hence Plaintiff’s Complaint should fail and the cause of

      action dismissed.


                             CERTIFICATE OF SERVICE

             I, Phillip C. Smith, an attorney, hereby certified that a true and correct
     copy of the above and foregoing document was electronically filed on May 2,
     2022, with the Clerk of the Court using the CM/ECF system which will send
     notification of such filing to the parties and attorneys of record.


            /s/Phillip C. Smith


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